                                 Case 24-11354-JKS               Doc 1        Filed 06/12/24           Page 1 of 8

     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
                                      Delaware
     ____________________ District of _________________
                                          (State)
                                                               7
     Case number (If known): _________________________ Chapter _____

                                                                                                                                    Check if this is an
                                                                                                                                       amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                       12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                       
                                       ✔ Chapter 7
                                        Chapter 11

Part 2:      Identify the Debtor


2.   Debtor’s name                     DIAMONDHEAD CASINO CORPORATION
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)
                                        5 ___
                                       ___ 9 – ___
                                                 2 ___
                                                    9 ___
                                                       3 ___
                                                          5 ___
                                                             4 7___ 6
                                                                    ___
                                       EIN

                                       Principal place of business                                Mailing address, if different
5.   Debtor’s address

                                       1013        Princess Street
                                       ________________________________________________           _________________________________________________
                                       Number     Street                                          Number     Street


                                                                                                  _________________________________________________
                                       _________________________________________________
                                                                                                  P.O. Box

                                       Alexandria
                                       ______________________________    VA
                                                                        _______ 22314
                                                                                _________         _____________________________ _______ _________
                                       City                             State   ZIP Code          City                          State   ZIP Code



                                                                                                  Location of principal assets, if different from
                                                                                                  principal place of business

                                       _________________________________________________           7051       Interstate 10
                                                                                                  _________________________________________________
                                       County                                                     Number     Street

                                                                                                  _________________________________________________

                                                                                                   Diamondhead
                                                                                                  _____________________________  MS 39525
                                                                                                                                _______ _________
                                                                                                  City                          State   ZIP Code


Official Form 205                                     Involuntary Petition Against a Non-Individual                                    page 1
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Debtor        DIAMONDHEAD CASINO CORPORATION
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




6.   Debtor’s website (URL)        _____________________________________________________________________________________________________




7.   Type of debtor                
                                   ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                    Partnership (excluding LLP)
                                    Other type of debtor. Specify: __________________________________________________________________________

8.   Type of debtor’s
                                   Check one:
     business
                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                    Railroad (as defined in 11 U.S.C. § 101(44))
                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                   
                                   ✔ None of the types of business listed.
                                    Unknown type of business.

9.   To the best of your           
                                   ✔ No
     knowledge, are any
     bankruptcy cases               Yes. Debtor _________________________________________________ Relationship __________________________
     pending by or against
                                            District __________________________ Date filed _______________ Case number, if known____________________
     any partner or affiliate
                                                                                           MM / DD / YYYY
     of this debtor?

                                            Debtor _________________________________________________             Relationship __________________________

                                            District __________________________ Date filed _______________ Case number, if known____________________
                                                                                           MM / DD / YYYY




Part 3:       Report About the Case

10. Venue                          Check one:

                                   
                                   ✔ Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                      business, or principal assets in this district longer than in any other district.

                                    A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11. Allegations                    Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                   The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                   At least one box must be checked:

                                   
                                   ✔ The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                      fide dispute as to liability or amount.

                                    Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                      agent appointed or authorized to take charge of less than substantially all of the property of the
                                      debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12. Has there been a               
                                   ✔ No
     transfer of any claim
     against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
     to any petitioner?               Rule 1003(a).


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Debtor         DIAMONDHEAD CASINO CORPORATION
               _______________________________________________________                                   Case number (if known)_____________________________________
               Name




13. Each petitioner’s claim                    Name of petitioner                                     Nature of petitioner’s claim              Amount of the claim
                                                                                                                                                above the value of
                                                                                                                                                any lien


                                               (See continuation sheet)
                                               ______________________________________                 _________________________________         $ ________________

                                               ______________________________________                 _________________________________         $ ________________

                                               ______________________________________                 _________________________________         $ ________________

                                                                                                            Total of petitioners’ claims          2,422,500.00
                                                                                                                                                $ ________________


   If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
   the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
   additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
   statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
   along with the signature of the petitioner’s attorney.


Part 4:     Request for Relief

   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
   $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

   Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
   petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
   foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

   I have examined the information in this document and have a reasonable belief that the information is true and correct.

   Petitioners or Petitioners’ Representative                                              Attorneys


   Name and mailing address of petitioner

   Edson Arneault                                                                          Jonathan Stemerman
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                           Armstrong Teasdale LLP
                                                                                           ________________________________________________________________
   One Riverside Drive
   ______________________________________________________________                          Firm name, if any
   Number Street

   New Cumberland                     WV             26047                                 1007 North Market Street, 3rd Floor
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                           Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any

   ______________________________________________________________                          Contact phone    302.416.9670 Email ___________________________
                                                                                                            _________________  jstemerman@atllp.com
   Name

   ______________________________________________________________                          Bar number      4510
                                                                                                           ___________________________________________________
   Number Street

   _________________________________ ______________ _____________                          State           Delaware
                                                                                                           _________________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               5/10/2024
   Executed on _________________
               MM / DD / YYYY                                                             /s/ Jonathan Stemerman
                                                                                           ________________________________________________________________
                                                                                           Signature of attorney

 /s/ Edson Arneault
    ______________________________________________________________
                                                                                           Date signed      6/12/2024
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title
                                                                                                            MM / DD / YYYY



Official Form 205                                              Involuntary Petition Against a Non-Individual                                        page 3
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      Debtor. DIAMONDHEAD CASINO CORPORATION                                 Case number: ______________



13. Each petitioner’s claim   Name of petitioner               Nature of petitioner’s claim    Amount of claim
                                                                                               above the value
                                                                                               of any lien
                              Edson Arneault                   Matured unpaid debt                 $161.500.00
                              John Hawley as Servicing Agent   Matured unpaid debt                 $161.500.00
                              for Argonaut Partners, L.P.
                              Kathleen and James Devlin        Matured unpaid debt                 $258,400.00
                              J. Steven Emerson                Matured unpaid debt                 $355,300.00
                              Emerson Partners                 Matured unpaid debt                 $419,500.00
                              J Steven Emerson, as Successor   Matured unpaid debt                 $742,900.00
                              to Steven Emerson Roth IRA
                              Steven Rothstein                 Matured unpaid debt                 $161.500.00
                              Barry and Irene Stark            Matured unpaid debt                 $161.500.00
                                                                Total of petitioners’ claims     $2,422,500.00
                                    Case 24-11354-JKS                            Doc 1   Filed 06/12/24            Page 5 of 8

Debtor         DIAMONDHEAD CASINO CORPORATION
               _______________________________________________________                                   Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   Kathleen and James Devlin                                                               Jonathan Stemerman
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                            Armstrong Teasdale LLP
                                                                                           ________________________________________________________________
   7269 Golf Colony Court, Unit 106
   ______________________________________________________________                          Firm name, if any
   Number Street

   Lake Worth                         FL             33467                                 1007 North Market Street, 3rd Floor
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                           Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    302.416.9670 Email ___________________________
                                                                                                            _________________  jstemerman@atllp.com
   ______________________________________________________________
   Name
                                                                                           Bar number      4510
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State           Delaware
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               5/30/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          /s/ Jonathan Stemerman
                                                                                           ________________________________________________________________
                                                                                           Signature of attorney


 /s/ Kathleen Devlin; /s/ James Devlin
    ______________________________________________________________                         Date signed      06/12/2024
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




   Name and mailing address of petitioner

   Emerson Partners c/o J. Steven Emerson                                                  Jonathan Stemerman
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                            Armstrong Teasdale LLP
                                                                                           ________________________________________________________________
   1522 Ensley Avenue
   ______________________________________________________________                          Firm name, if any
   Number Street

   Los Angeles                        CA             90024                                 1007 North Market Street, 3rd Floor
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                           Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    302.416.9670 Email ___________________________
                                                                                                            _________________  jstemerman@atllp.com
   ______________________________________________________________
   Name
                                                                                           Bar number      4510
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State           Delaware
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               5/2/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          /s/ Jonathan Stemerman
                                                                                           ________________________________________________________________
                                                                                           Signature of attorney


 /s/ J. Steven Emerson, as authorized signer
    ______________________________________________________________                         Date signed      6/12/2024
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                        page 4
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Debtor         DIAMONDHEAD CASINO CORPORATION
               _______________________________________________________                                   Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   J. Steven Emerson as Successor to Steven Emerson Roth IRA                               Jonathan Stemerman
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                            Armstrong Teasdale LLP
                                                                                           ________________________________________________________________
    1522 Ensley Avenue
   ______________________________________________________________                          Firm name, if any
   Number Street

   Los Angeles                        CA             90024                                 1007 North Market Street, 3rd Floor
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                           Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    _________________   jstemerman@atllp.com
                                                                                                            302.416.9670 Email ___________________________
   ______________________________________________________________
   Name
                                                                                           Bar number      4510
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State           Delaware
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               5/2/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          /s/ Jonathan Stemerman
                                                                                           ________________________________________________________________
                                                                                           Signature of attorney


 /s/ J. Steven Emerson
    ______________________________________________________________                         Date signed      06/12/2024
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




   Name and mailing address of petitioner

    J. Steven Emerson                                                                      Jonathan Stemerman
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                            Armstrong Teasdale LLP
                                                                                           ________________________________________________________________
   1522 Ensley Avenue
   ______________________________________________________________                          Firm name, if any
   Number Street

   Los Angeles                        CA             90024                                 1007 North Market Street, 3rd Floor
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                           Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    302.416.9670 Email ___________________________
                                                                                                            _________________  jstemerman@atllp.com
   ______________________________________________________________
   Name
                                                                                           Bar number      4510
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State           Delaware
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               5/2/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          /s/ Jonathan Stemerman
                                                                                           ________________________________________________________________
                                                                                           Signature of attorney


 /s/ J. Steven Emerson
    ______________________________________________________________                         Date signed      6/12/2024
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                        page 4
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Debtor         DIAMONDHEAD CASINO CORPORATION
               _______________________________________________________                                   Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   John Hawley as Servicing Agent for Argonaut 2000 Partners, L.P.                         Jonathan Stemerman
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                            Armstrong Teasdale LLP
                                                                                           ________________________________________________________________
   991 Grindelwald Ln. Unit 6
   ______________________________________________________________                          Firm name, if any
   Number Street

   Midway                             UT             84049                                 1007 North Market Street, 3rd Floor
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                           Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    302.416.9670 Email ___________________________
                                                                                                            _________________  jstemerman@atllp.com
   ______________________________________________________________
   Name
                                                                                           Bar number      4510
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State           Delaware
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               5/3/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          /s/ Jonathan Stemerman
                                                                                           ________________________________________________________________
                                                                                           Signature of attorney


 /s/ John S. Hawley
    ______________________________________________________________                         Date signed      06/12/2024
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




   Name and mailing address of petitioner

   Steven Rothstein                                                                        Jonathan Stemerman
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                            Armstrong Teasdale LLP
                                                                                           ________________________________________________________________
   POB 2957
   ______________________________________________________________                          Firm name, if any
   Number Street

   Edwards                            CO             81632                                 1007 North Market Street, 3rd Floor
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                           Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    302.416.9670 Email ___________________________
                                                                                                            _________________  jstemerman@atllp.com
   ______________________________________________________________
   Name
                                                                                           Bar number      4510
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State           Delaware
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               5/24/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          /s/ Jonathan Stemerman
                                                                                           ________________________________________________________________
                                                                                           Signature of attorney


 /s/ Steven Rothstein
    ______________________________________________________________                         Date signed      6/12/2024
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                        page 4
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Debtor         DIAMONDHEAD CASINO CORPORATION
               _______________________________________________________                                   Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

    Barry and Irene Stark                                                                  Jonathan Stemerman
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                            Armstrong Teasdale LLP
                                                                                           ________________________________________________________________
   10692 Hawks Vista Street
   ______________________________________________________________                          Firm name, if any
   Number Street

   Plantation                         FL             33324                                 1007 North Market Street, 3rd Floor
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                           Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    302.416.9670 Email ___________________________
                                                                                                            _________________  jstemerman@atllp.com
   ______________________________________________________________
   Name
                                                                                           Bar number      4510
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State           Delaware
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               5/9/2024
   Executed on _________________
               MM / DD / YYYY
                                                                                          /s/ Jonathan Stemerman
                                                                                           ________________________________________________________________
                                                                                           Signature of attorney


 /s/ Barry Stark; /s/ Irene Stark
    ______________________________________________________________                         Date signed      06/12/2024
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




   Name and mailing address of petitioner

   ______________________________________________________________                          ________________________________________________________________
   Name                                                                                    Printed name

                                                                                           ________________________________________________________________
   ______________________________________________________________                          Firm name, if any
   Number Street

   _________________________________ ______________ _____________                          ________________________________________________________________
   City                              State          ZIP Code                               Number Street

                                                                                           _________________________________ ______________ _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                           Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________
               MM / DD / YYYY
                                                                                          ________________________________________________________________
                                                                                           Signature of attorney


   ______________________________________________________________                         Date signed      _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                        page 4
